 Fill in this information to identify the case:

  Debtor 1              Michael A. Horn aka Mike A. Horn

  Debtor 2              Patricia L. Horn aka Patty A. Horn dba Patty Horn Clipper Cuts

  (Spouse, if filing)


  United States Bankruptcy Court for the:   Middle District of Pennsylvania
                                                                                 (State)
  Case number           17-02237-HWV




Official Form 410S1
Notice of Mortgage Payment Change                                                                                                               12/15
If the debtor's plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor's principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.


   Name of creditor: Federal Home Loan Mortgage Corporation, as                     Court claim no. (if known): 2
Trustee for the benefit of the Freddie Mac Seasoned Loans Structured
Transaction Trust, Series 2018-2 c/o Select Portfolio Servicing, Inc.
   Last 4 digits of any number you use to                                           Date of payment change:
   identify the debtor's account:                          1849                     Must be at least 21 days after date    06/01/2019
                                                                                    of this notice

                                                                                    New total payment:                      $ 1,035.89
                                                                                    Principal, interest, and escrow, if any

Part 1:          Escrow Account Payment Adjustment

 1. Will there be a change in the debtor's escrow account payment?

             No
             Yes.            Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law.
                             Describe the basis for the change. If a statement is not attached, explain why: ___________________________
                             __________________________________________________________________________________________
                         Current escrow payment:           $ 312.55 New escrow payment:            $ 380.58


Part 2:         Mortgage Payment Adjustment

 2.      Will the debtor's principal and interest payment change based on an adjustment to the interest rate on the debtor's
         variable-rate account?

             No
             Yes.        Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is
                         not attached, explain why: ___________________________________________________________________
                 __________________________________________________________________________________________
                    Current interest rate             _____________%        New interest rate: ___________%

                        Current principal and interest payment: $ _______________ New principal and interest payment: $___________


Part 3:          Other Payment Change

 3. Will there be a change in the debtor's mortgage payment for a reason not listed above?

             No
             Yes.        Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification
                         agreement. (Court approval may be required before the payment change can take effect.)
                         Reason for change: ________________________________________________________________________________
                        Current mortgage payment: $ ___________           New mortgage payment: $ __________




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Debtor 1           Michael A. Horn aka Mike A. Horn                               Case number (if known) 17-02237-HWV
                   First Name     Middle Name         Last Name




Part 4:         Sign Here


    The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
    telephone number.
    Check the appropriate box:
             I am the creditor.
             I am the creditor's attorney or authorized agent.


    I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
    knowledge, information, and reasonable belief:




     /s/Steven Kelly                                                                        Date   March 26, 2019
    Signature



    Print:               Steven Kelly, Bar ID# 308573                                       Title: Attorney for Creditor
                         First Name                   Middle Name     Last Name



    Company              Stern & Eisenberg, P.C.


    Address              1581 Main Street, Suite 200 The Shops at Valley Square
                         Number             Street
                         Warrington, PA 18976
                         City                                         State         ZIP Code


Contact phone 215-572-8111                        Email      skelly@sterneisenberg.com




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                                                       CERTIFICATE OF SERVICE
             I HEREBY CERTIFY THAT A COPY OF THE FOREGOING NOTICE OF P AYMENT C HANGE WAS
SERVED ELECTRONICALLY THROUGH THE COURT'S ECF SYSTEM AT THE E-MAIL ADDRESS REGISTERED WITH
THE COURT ON THIS DATE TO THE FOLLOWING:

DATE:        March 26, 2019

Gary J. Imblum                                                        Charles J. DeHart, III (Trustee)
4615 Derry Street                                                     8125 Adams Drive, Suite A
Harrisburg, PA 17111                                                  Hummelstown, PA 17036
gary.imblum@imblumlaw.com                                             dehartstaff@pamd13trustee.com
Counsel for Debtor                                                    Bankruptcy Trustee

Asst. U.S. Trustee
228 Walnut Street
Suite 1190
Harrisburg, PA
17101ustpregion03.ha.ecf@usdoj.gov
US Trustee

and by standard first class mail postage prepaid to:

Michael A. Horn aka Mike A. Horn
110 Deer Drive
Jonestown, PA 17038
Patricia L. Horn aka Patty A. Horn aka Patty Horn
Clipper Cuts
110 Deer Drive
Jonestown, PA 17038
Debtor(s)



                                                                      Respectfully submitted:
                                                             By:      /s/ Steven Kelly, Esquire
                                                                      Steven Kelly, Bar No: 308573
                                                                      Stern & Eisenberg, P.C.
                                                                      1581 Main Street, Suite 200
                                                                      The Shops at Valley Square
                                                                      Warrington, PA 18976
                                                                      skelly@sterneisenberg.com
                                                                      Phone: 215-572-8111
                                                                      Fax: (215) 572-5025
                                                                      Counsel for Movant




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